Case 1:04-cr-10096-.]DT Document 31 Filed 05/11/05 Page 1 of 6 Page|D 31
UN|TED STATES D|STR|CT COURT

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-v- 04-10096-01-T Qt_§:.< {JF® 891 S!r§?ié~
"'"/‘ >Fm;' 4 t
RANDY LEwls cARY ‘ JACKoO/\i

C. Mark Donahoel Retained
Defense Attorney

P. O. Box 98

Jackson, TN 38302

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 03. 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Title s section N_at_uc_eM)_ Me_c! Mm§l
18 U.S.C. § 922(g) Convicted Fe|on in Possession of a 08/12/2004 1

Firearm Shipped and Transported in
interstate Commerce

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition cf Sentence:
Defendant's Date cf Birth: 12/10/1970 N|ay 06, 2005
Deft’s U.S. Marsha| No.: 19914-076

Defendant's N|ailing Address:
6797 OLD STAGE ROAD
HUNT|NGDON, TN 38344

  
  

S D. TODD
This document entered on the docket sheet ln compliance C F UN|TED STATES D|STR|CT JUDGE

with Rule 55 and/or 32(b) FHCrP on _QZ.|S_'O\$'_ May 2 l , 2005

@

Case 1:04-cr-10096-.]DT Document 31 Filed 05/11/05 Page 2 of 6 Page|D 32

Case No: 1:04cr10096-01-T Defendant Name: Randy Lewis Cary Page 2 of 5
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 84 Months as to the One (1) Count |ndictment.

The Court recommends to the Bureau of Prisons: |nstitution where defendant can

receive intensive substance abuse treatment and after treatment, as close to defendants
home as possib|e.

The defendant is remanded to the custody of the United States Marsha|.

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES N|ARSHAL
By:

 

Deputy U.S. Marsha|

Case 1:04-cr-10096-.]DT Document 31 Filed 05/11/05 Page 3 of 6 PageiD 33

Case No: 1:04cr10096-01-T Defendant Name: Randy Lewis Cary Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years as to the One (1) Count indictment.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. `l'he defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training. or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, usel

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

?. The defendant shall not frequent places where controlled substances are illegally sold. used,
distributed, or administered;

Case 1:04-cr-10096-.]DT Document 31 Filed 05/11/05 Page 4 of 6 PageiD 34

Case No: 1:040r10096-01-T Defendant Name: Randy Lewis Cary Page 4 of 5

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permits probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law

enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record cr personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement.

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Nionetary Penaities sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for alcohol
and drug abuse, as directed by the probation officerl until such time as the defendant is
released from the program by the probation officer..

2. The defendant shall cooperate with the U. S. Probation Ofnce in the collection of DNA.

CRIM|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ai| of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution
$100.00

The Specia| Assessment shall be due immediateiy.

Case 1:04-cr-10096-.]DT Document 31 Filed 05/11/05 Page 5 of 6 PageiD 35

Case No: 1:04cr10096-01-T Defendant Name: Randy Lewis Cary Page 5 of 5
F|NE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

S DISTRICT COURT - WESRNTE D"CTRIT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 1:04-CR-10096 Was distributed by faX, mail, or direct printing on
May ]2, 2005 to the parties listed.

 

 

C. Mark Donahoe

HARDEE MARTIN DAUSTER & DONAHOE
P.O. Box 98

Jackson, TN 38302

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

